eeoaon
lN CLERK'S OFF|CE

JAN 29 2013
ns run minn starns DIsrRror Couar U' S,`,'Hg'_SDT,§lT?;§§CNU, m
ron run MM-¢ Z 1 v nIsTchT` or rumssr,n l
' nrvisroN

 

 

j )'/l,? @'/o e-»?L Nam€ , z ,`, ,
l (List the names of all the plaintiHs
Prison ld. No. GQ § Z@ {j£$ Hliug this lawsuit Do not use “et
al.” Attach additional sheets if
Name necessary. v '.
Pas@nid. NO. ' ‘* ' oivil Acuon NO.
(To be assigned by the Clerlc’s
Plainti_ff($) ohioe. Do not Write in this space.)

Ju_z'y`Trial ij Yes l ENO

v.
(List the names of all defendants
against Whorn you are Eling' this

lawsuit Do'not use ‘_‘et al.” Attach
additional sheets if necessary.

§ '<T/le/‘)J KML/L /Z)Oé Narue
E d W/t/~c/ §e/v'"¢/M’c/ Name

)
)
)
)
)
)
)
)
),
)
)
)
)
)
)
l
)
§
Defendant(s) )

COl\/lPLAlNT FOR VIOLATION OF CIVIL RIGHTS
FILED PURSUANT TO 42 U.S.C. § 1983 .

l. PREVIOUS LAWSUITS (Th e following information must b e provided by each plaintiff.)
A. Have you or any of the other plaintiffs in this lawsuit filed any other lawsuits in the
United States District Court for the Mid'dle District of Tennessee, or in any other federal

or state court?

d Yes ',E No
lt you checked the box marked “Yes” above, provide the following information:

l. Patties to the previous lawsuit:

elmore T¢`/n §J/Se»)“
Defendants Fm}o »/47 \J /"Awf>?‘)“€\/*"/év /71/ 3<?§/7¢59

Case 1:13-cv-00006 Document 1 Filed 01/29/13 Page 1 of 12 Page|D #: 1

 

l_n what court did you tile the revious lawsuit? l_.J'»/co /,»/ chy ,)¢',V

FA>'e/$‘a w `//p , / "/v 733 y
(lf you tiled the lawsuit in federal court, provide the name of the Disti'ict. lf you

Eled the lawsuit in state court, provide the name of the state and the county

What was the case number`of the previous lawsuit?. wait /¢~/von~v

What was the lud<re’s name to whom the case was assigned?, met J;; voa-wu

When did you file the previous lawsuit? 300 jj (Pyovid@ the year jj
you do not know the exact date )

.‘] .
What was the result of the previous lawsuit? For example, was the case dismissed,
appealed, or still pending? ,'t' WM‘ J‘€}'z¢/@¢/ ) '/r c~ o'.u»~}~

When was the previous lawsuit decided by the oourt? 3 02>&`) (Provide
the year, if you do not know the exact date.) l `
Did the circumstances of the prior lawsuit involve the same facts or circumstances
that you are alleging m this lawsuit z

5 Yes l M No

(If you have filed more than one prior lawsuit, list the additional lawsuit(s) on
a separate sheet ofp aper, and providethe same information for the additional

lawsuit(s) .)

THE PLADUIFF’ S CURRENT PLACE OF CONFD?EMENT (Thefollowing information
must be provided by each plaintiff ) `

rison or jail in which you are currently

A What is the name and address of the /p / § €A 4 7c
) 50 arc 19

incarcerated? QQ¢/»§/»Q[Z §§Q Ta»

L€ W)o"é/-L "}~ / ~'V
Are the facts of your lawsuit related to your present connnement?

)?709/

[3/ Yes 53 No

lf you checked the box marked “No” in question ll.B above, provide the name and

address of the prison or jail to which the facts of this lawsuit pertain

Do the facts of your lawsuit relate to your connnement in a Tennessee State Prison'?

ij Yes `Zl No

C§§é@i:ie€-“é§?-i)titide” db'%h?tléi§ioi Pl§il&%@biié§ti§i@%§§ 2 of 12 Pagelo #: 2

 

E. if you checked the box marked “Yes” in question H. D above, have you presented these
facts to the prison authorities through the state grievance procedure?

 

 

 

 

n res _ ul No
F. lf you checked the box marked “Yes” in question I[.E above: l
l. What steps did you take? "" 1
2. What was the response of prison authorities?
. j
G. lf you checked the box marked “l_\lo” in question ll.E above, explain why not.

 

H. Do the facts of your lawsuit pertain to your connnement in a detention facility operated
by city or county law enforcement agencies (for example, city Or county j ail, workhouse,

etc.)?

Ql Yes 5 No
lf you checked the box marked “Yes” in question ll.l~l above, have you presented these

l.
' facts to the authorities who operate the detention facility?
U Yes m No
.T. lf you checked the box marked “Yes” in question ll.l above:

l. What steps did youtake? 1 fo/o' f/van He ' Coa,~‘/~ t CVoM/'>' <I¢)f/ y
fA/Lf' 3 441 »;1/_ TZ):'/ 7000 410 /*z‘/¢$‘cu A~ua/'_Y /i,M/ ,})Arp¢/'l fa!z‘ony )7'

_2. What was the response of the authorities who runthe detention facility? U£Z Q(;al»v"r
§/vc~k/ w/M-é I C¢lL/d do `6~601-{' IET" '€Jt€€l’,` W"'v’?l! jhp Co.a/"i"

 

 

L lf you checked the box marked “No” in question I[.l above, explain why not.

Attach copies of all grievance related materials including, at a minimum, a copy of the
grievance you filed on each' issue raised in this complaint, the prisons orjail’s response to that '
grievance, and the result of any appeal you to olt from an initial denial of your grievance

lll. PARTIES TO THIS LAWSUIT
A. Plaintiff(s) bringing this lawsuit:

l. Name of the first plaintiffs T)'/;o 6?///) er'?“

Pris@nid.No. Ortn@nrsrpianete 003/wis mci raw gee
Case 1:13-cv-00006 Documentl Fi|e.d”Qg/ZQ/1§, R@gegSpf@lZ Page|D#:S

 

 

2. Narne of-second the plaintiffs `

Ad<iress arise am pittman 71 01 é’/./Aa »/» mo £, 1 661/91 ca
[_ew!`.? hugh vi 7’4/ 370?/
.(lnclude the name of the institution and mailing address, including zip code.
lt you change your address you must notify the Court immediately.)

 

Prison ld. No. of the second plaintiff ~ ,`_ ,

Address of the second plaintiff:.

 

 

(Include the name ofthe institution and mailing address, including zip code.
lfyou change your address you must notify the Court immediately.)

lt there are more than two plaintifts, list their names, prison identification
numbers, and addresses _on a separate sheet of pap er. '

B. Defendant(s) against whom this lawsuit is being brought:

l.

Name of the hrst_ defendant: 5 4 1',,~)' ge 1/\ f/' 04

' Place 01 employment ofthe first defendant LAW eac\@1b,9 ,Or\oz@ apr 1 W, /
£~/Ay

lhe nrst defendant’s address: / `nf agc/d Pm 7001~9, cw,,j g /;1£

 

 

'P, 0 1 AOY /?9 ‘5 L€WN"`}¢¢~$ 744 '
Named in official capacity? ’Z/ Yes ij No
Named in individual capacity” 13 Yes 1:1 NO

Name ofthe second defendant: g civ/find fica/pip J

Place of employment of the second defendant />7/,1/~.1`4.4// CO, Co,e.»\;#e

 

The second defendants address: ?O;'L /X,',g!»M,a// C<, C°¢.,j Ao_w£

 

Named in official capacity? El Yes -1:1 NO
Named in individual capacity” U Yes El NO

If there are more than two defendants against whom you are bringing this
lawsuit, you must list on a separate sheet ofpap er the name of each additional
defendant, their place ofemployment, their address, and the capacityin which
you are suing them. lf you do not provide the names of such additional
defendants, they will not be included in your lawsuit If you do not provide
their proper name, place of employmentJ and address, the Clerk will be
unable to serve them should process issue.

Case 1:13-cv-00006 ,Document 1 Filed 01/29/13 Page 4 of 12 Page|D #: 4

     

   

 

case i;,ia-cv-ooooe'L'_'t)ocumem1 Fileo 01/2q/13»17Page¢501121pagelo #:,,a , j :`

1 y 77 x

alw¢h~¢» fhwa

flew £. ignore

would G¢M} § fla/1

399~ /120¢.1,,(/ C¢w~é,,= CMW
iam/443 df];., 3709/

19

 

 

 

 

` l ' 1 1 ' l : ` 7 ,1 ' 7 1 ;
\ ` " ` ' 1
` ' 1 tr 11

`f'CaS@;"lrl€%¢fviO'oOO€ k: Documémi"' men 111129/;13”€>5§§1@ 1112 'Pagemi#§ fe

 

_GJ,"/es` -Coa.¢f'? D_/§_» DP,O,V'ce £_ew»/)' W/l)/e

K¢,a.i,, w/ob w,a.e.o/a~q, maude/aa
,/)w»@..&m~.¢elu q¢,b‘./)z.o,adbw£¢a A¢.¢/
jic,Mwu/.=l anc@wa¢wo..&/MJ/ulc»/%Zp
bahamas MMMMMMMM
WM/w.,/Lm//QOMJM/M¢m draw/hca
&AMQUJ&WMJWU%Maé/,
deaaa»akMMJ/>JM,M _rc.,£,..e
MMJMM Mh./».@ c»..a~c,e.;, aar/3m
ii‘W,t;W/nwwmww.

./YLM QQ‘, mg ,L €Te¢.g amy
illegiwa Ma¢/-ao//,¢/wda…so,{.,b
1~'5 Cua!»d¢-Emw£d/ 9,,/.“'/.¢1@~1 041>.,¢!4./
healed W.<lw¢ ou/.yawle/Bwq,¢é walt¢
W)JW¢W»SWMM graham mw
,MJ,,WAM datum/w ana ama anew
/7¢0'1.,¢11~.11 )MJ addele hid/w 9/(4¢>1¢~\, /1'5/',¢/
Wded/Lmdwo/,.;MWM wm
dweM,th'/§!J£¢,M)éwizd
Wewal¢e& dMe/za,,.d/¢/MW
wmamwwu,¢ewaw¢.wria,,,tlww
m wastes M ida i¢¢eMa/a@/,%,
WM Mg,Mm¢,H/u¢

 

/11¢1»1»»4~11 c 11.4. date …

',0..,4, €MJ £W¢J ~ mem/w ewa»,a.,»
,`,v Coa»»¢ M,,,,L .r/Lowe\/ ,Z' /14~/ J`M»)‘@¢/ 510/43 )Lo Ccuw~
o/v /7‘./)1.0.€'4¢».¢»¢` , l)¢/- 4a 1411/44 344 bia w 13d
M'A//w~ec/, lhwca mm %M»><>tr/ /?'€ /-ad J»w/\&ileu-`l¢
guard QM, wi w 15 wmata
34 <»»,Gl it¢.!,;¢,, , ecl,w~/ Bwvm./ lead few
`M~M 4,,;, ¢w~/~ 4,.<1~¢»/ w ed rim /'u»~a
mcgill witt , 1414 4,;,1»~4.1‘4‘»..1‘04 laid .4»; cwa and
niewwm,r¢a<aWa/M,//W
rice mar ¢Wawi 111/ma haas am mm
we law god.b¢e emma/lima M)‘M
fm wildwa m)>~% tiwa wall l¢'(m,;/
/ww,/)W,¢uah a,o{¢.._<,/SA<,/@,%;V.
i/m.z'~,b’éhaz W€<a/`me»./a,&/ ¢»Jc/t./QQ,%
owe Can/w~b@/ d ff./rz.d , cl amf ,z§<(

§@¢Jw b rye/wa ad /1/../1.0 a/¢ /»W/,/wwt/,

pled 5'/*1' ,PO//jc¢ Dep

may am 11le /»Mm-,'» /ne, md 411/uribe

4ilav@l/w;'tia|13111\/'10/»4»1£1§'»9'»;I'L%\//r¢,,.e/»-<>

w`MWwQZQM¢/L,ya.a,

./»Mic 114/twa we eleaW(/».;Wl%ao
WMJCM}NMM@W/loem@/ww,
w,emwwwwd+daaw

 

,, 7 W“a’°‘“"~e/

 

%am g U_o/a/?§'b cl M~¢AJ/ /{%
giff.=,oéc¢,,;, M.JM<)LJM'¢/Ahm/M¢~é?
all ocaw bid 11 /L,¢/ ~"7';1/ /),¢€<,. W’G~€
cl Mw md mn/»A‘<LJ aj /:1"./)1/0, ., 1010 /ze/w¢/
/me amf mail ve wald maj b1/’¢4/1@ M¢/ /Ze/.q,_¢,/
15th 1 4 mun/41 al 1»;~»»4»6¢ ‘~/”4/6 /{»¢1 belief
£ML .,</»l,é Cou»v"'/ . 11 611-br 401 /m¢_ ww`¢{¢¢.

13 %,U be earl /)14,2’,.1,., ./{1/,, cercla }$ le
jtwa e(/Mm.

 

`j“.`Case1:131-0\'/.¢00006""Docurrtent1:'51?11§?10'1/'2©"/13""Page'e0112'1Page1t')“#';fo" "1

 

iii_i_§i_
s
,§ w
§

§

1
5 5/161~&,, Dewe/»,eth>’ 1

i/`/+" , J'MJ/,`C'G/ fork , F='~ce 491/14 Vlb/€»//” ` C~S»@ Jw»'/~
1 mt team mm w aaa 11 N/
`/w /wc/»d, wl /14,¢../ alma wald Cv/MHJ“
icmw`y»ww C»,'zwul?!e ed 1914 aim »/vee<-l»g> c/
iwaa. /i/M,L~, arm 0~114-» .,71¢;_ ram m

144110@»¢»1£¢°€!”3.94>»€1¢%,4@»“@5

§awiwcwawowaww few
MMMJLL'-z» ,JY¢¢JVW!SM<!W/%/'L,o,
JWWMma./)w,.;twww
WJW»§BOL.¢€ c/:,(’)u,w‘~! mm

 

 

910\'/

1 IV. STATEl\/lENT OF PACTS

State the relevant facts of your case as briefly as possible. Inclnde the dates When the incidents
or events occurred, Where there they occurred, and how each defendant Was involved B e sure
to include the names of other persons involved and the dates and places of their involvement

lf you set forth more than one claim, number each claim separately and set forth each claim in
~ a separate paragraphl Attach additional sheets, if necessary Use 8 172 in. X ll in. paper. Write
on one side only, and leave a l in. margin on all four 4 sides. `

D’Je»j gold /L)o/l` an 109/gay repne.rwfslfcv 611/d »1/0/ goMr~)i\/L
jA/¢Q@f‘m.¢/)‘<w frof€~ ~/7 0.4/ ny ée/$JL/)£ 11 €ch’/¢//va¢/ fn dev )‘/707'“ I
wos~ /vm‘“ H./».U, ..T/ia)¢ §Z' jail 977 l/'J'ce#n amf .Me V'</€o w<))~ 196¢¢¢!
<','|-”1¢95" 1766 &YL .7£4€- ?(05'/' ponce J)'G/v//' P/`/vc/ 4 I `}a l\‘-l /)'€” on/ J"EP?"' 93 //vld/~
app/ce .e~o/ movMZ~ befo"c\'w"/'B won/dir f'~7 70 pafépr €v"¢li'vc fcc/eaz- me
ny 714/y La¢// ake 119/dare .-.',@ if had mae f~'o/ M¢f z'p l/a;~,/ @rl~.a¢
+La CAQM¢»~ well vw C<wcu»w ,2`]” 641-ead 291 C/B»,gg;; ,~Q,,/ CQ”."Q£#;W
]' }QIJ he1~3 mwa before /'AM` 7 vw` 4/¢1/€’~ C/l~aq¢g/ H,M'Up /FM/ )1,¢4)~
711/orr ~wu~ C/Mwe¢ witt vjp°cé»vz F¢//ow"’a., below oh C/\.b~,.`v¢/ /`»mc~'»/vwvr»,.»
9- q,ve.¢ j c¢ppg¢, ja fay 361/mv l j za/¢ /H/- jAAJ 350/5/' 0)4 fla fran/nav
M/,»} 274/or 41wa col/wohl Z'/w( md fQQFle jo CQ~M¢J' dan %v/LZ¢/P
cola M»&, z paca/j gayle ;./4-»4//- radar 1541 Cjeml lvf.'/¢r~ do
566 .)‘/9,`# ,)`)»’€e 17 niro/ord /'27 /§L/’£&o~j 4b1 7%¢)/» w/.\-g 001%13 wide
Cou/J 40 1 Eu*' P.Na had a// fha ,`.w¢'¢mafm\/ ,5€."0»€, end »e)¢‘arn/
fo do 04/`7/`/'14$_, /j' /:;J’/i‘€¢ dev 94/ <n’f’?‘ ‘/'1/,' /;€~~JQ"C ”l?' 7"»1<7/ upon
henry @HA¢ valeo J~/»e r¢Fu:w! 11 u‘\/»e trer »i> wf>‘ve):r my way
§wg)‘ pmm 'fhg j-m`e/ . 3 COW""A/»Mu{ 160 746// /)e)~ )1/5»9-7'" j 14_/
player ivey coa/ordeal of /£/”£, er 044/id w/M mpw~ md
tie CM~»,@ He)' were M’W Q/MQ~ me ij y J`})e n£w~a./
710 le/Tp mg l - l `

 

 

 

 

 

 

 

V. RELIEF REQUEST"ED: Specify What relief you are requesting against each defendant

 

 

A_ jeh~` EEM /€)"cA "l)g nep».<>»,¢`M/a¢ .,e.vql '//s'o/ 09
B. /W.<}m\))¢i~// C,0,rjo\§/ .9~0/ Fe/)'c)}} /Qz_,;cc /dgilpyy
C. ff/ec C.o. _D,.Q p.#/>.‘¢e m/J Cfr~cn,~`f~ Co /Q<Sjaw

 

D. ¢_5.165!~€ .DA/.¢%q`¢h~,h~)’ f /ij;¢ol>€’/,"/ ytAs'/' Forc¢ ;V)'¢?/.W/" ‘€m'.na ,¢L/vff‘ /UU/o‘-v~y

E. /Vl/m’ M// C 0 D/) 01%£,» ,o,w/ fidme w £»Mw/ 550/ibp
Ca§t§/l?iz,/cvpoéb° 6a 665§§5:4§%1/1”°|="@9]?\1/29/13 Page 110112 PagelD#: 11

request a- jury tna

 

V.[. CERTIFICATION _

l (We) certify under the penalty ofpeijury.that the foregoing complaint is true to the best ofrny (our)
information knowledge and helief.

Signatnre: gm AM)/ - Date_- 3'~'3" 3/0/3
ram 1a NO. 02) 3m %93

f s

.. Address: /5‘0 E. Cja,»~cé Jd~, Lew).réa(p ;7,,/ `370}¢/

 

y Cinclnde the city, State and zip code.)
Sigoature: n "] _ Date:

Prison ld. No.

 

Address:

 

 

(Include the city, state and zip code.)

_ ALL PLAJN'.[TFFS MUST SIGN AND DATE THE COlY[PLAiNT, and provide the
information listed above. If there are more than two plaintiffs, attach a separate sheet of
paper With'their signatures, dates, prison identification numbers, and addresses.

 

ALL PLAJNTIFFS MUST CON[PLETE SIGN AND I)ATE SEPARATE APPLICATIONS
TO PROCEED WFORM§ PA UPER[S, ifnot paying the civil Eling fee.

l SUBMIT THE COl\dPLAlNT. THE REQU]RED- FILING FEE, OR APPLICATION TO n

PRO CEED INFORDM PA UPERTS. TO GE’IHER. Cornplaints received Without the required

Hling fee or application to proceed in forma pauperis Will be returned Filing fees} or
applications to proceed informapauperiy, received Withont a complaint Will be returned

Case 1:13-cv-00006 Do`cumeot 1 Filed 01/29/13 Page 12 of 12 Page|D #: 12 §

